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                                                                                                                         UNITED STATES DISTRICT COURT
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                                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                  SUGARFINA, INC., a Delaware                 Case No. 2:17-cv-4456 RSWL (JEMx)
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                                                                                            13    corporation,
                                                                                                                                              PLAINTIFF SUGARFINA, INC.’S
                                                                                            14                     Plaintiff,                 OPPOSITION TO DEFENDANTS’
                                                                                                                                              MOTION TO DISMISS
                                                                                            15            v.
                                                                                                                                              Hearing Date:    August 29, 2017
                                                                                            16    SWEET PETE’S LLC a Florida
                                                                                                  limited liability company; ML               Time:            10:00 a.m.
                                                                                            17    SWEETS, LLC, a Pennsylvania                 Place:           TBD
                                                                                                  limited liability company; PETER
                                                                                            18    BEHRINGER, an individual; and
                                                                                                  ALLISON BEHRINGER, an
                                                                                            19    individual,
                                                                                            20                     Defendants.
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                                                                                                               SUGARFINA, INC.’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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                                                                                             1   I.      INTRODUCTION
                                                                                             2           Defendants Sweet Pete’s, LLC, ML Sweets, LLC, Peter Behringer, and
                                                                                             3   Allison Behringer’s1 (collectively, “Sweet Pete’s”) Motion to Dismiss improperly
                                                                                             4   rests on the merits of Sugarfina’s claims and has very little to do with the
                                                                                             5   sufficiency of Sugarfina’s allegations. Sugarfina’s Complaint makes detailed
                                                                                             6   factual allegations that go well beyond reciting the elements of its asserted claims.
                                                                                             7   These allegations are neither “bald” nor “conclusory,” and hence are entitled to the
                                                                                             8   presumption of truth. In accordance with Iqbal, Twombly, and Ninth Circuit
                                                                                             9   precedent, Sugarfina’s allegations are sufficiently detailed to give notice to Sweet
                                                                                           10    Pete’s of the nature of Sugarfina’s claims against it and to give Sweet Pete’s a fair
                                                                                           11    opportunity to defend against them. The Complaint more than “plausibly suggests”
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                                                                                           12    an entitlement to relief, such that it is not unfair to require Sweet Pete’s be
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                                                                                           13    subjected to the expense of discovery and continued litigation. The Motion should
                                                                                           14    therefore be denied.
                                                                                           15    II.     LEGAL STANDARD
                                                                                           16            Contrary to what Sweet Pete’s argues, the Ninth Circuit has repeatedly held
                                                                                           17    that Iqbal and Twombly do not stand for the proposition that a plaintiff must include
                                                                                           18    all the evidence that supports its claims in its complaint. “[W]here the claim is
                                                                                           19    plausible—meaning something more than ‘a sheer possibility,’ but less than a
                                                                                           20    probability—the plaintiff’s failure to prove the case on the pleadings does not
                                                                                           21    warrant dismissal.” OSU Student Alliance v. Ray, 699 F.3d 1053, 1078 (9th Cir.
                                                                                           22    2012) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)); see also Sam Rubin
                                                                                           23    Entm’t, Inc. v. AARP, Inc., 2016 U.S. Dist. LEXIS 174457, at *6 (C.D. Cal. Dec.
                                                                                           24    16, 2016) (Lew, J.) (“The question presented by a motion to dismiss is not whether
                                                                                           25
                                                                                                 1
                                                                                           26      Peter Behringer and Allison Behringer are in default, and Sugarfina objects to
                                                                                           27    their joining this Motion as untimely. As evidenced by the proofs of service on file
                                                                                                 with this Court (Dkt. Nos. 11 & 12), Peter Behringer and Allison Behringer were
                                                                                           28    required to respond to the Complaint by July 14, 2017. See infra.
                                                                                                 32101044v2                                -1-
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                                                                                             1   the plaintiff will ultimately prevail, but whether the plaintiff has alleged sufficient
                                                                                             2   factual grounds to support a plausible claim to relief, thereby entitling the plaintiff
                                                                                             3   to offer evidence in support of its claim” (citing Iqbal, 556 U.S. at 678 (2009)). “A
                                                                                             4   motion to dismiss does not ask whether Plaintiff will prevail in the action, but
                                                                                             5   whether Plaintiff is entitled to offer evidence in support of its claim.” Sam Rubin
                                                                                             6   Entm’t, Inc ., at *21 citing Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002).
                                                                                             7           The standard for demonstrating that the claims fail for implausibility is fairly
                                                                                             8   high. “Plaintiff’s complaint may be dismissed only when defendant’s plausible
                                                                                             9   alternative explanation is so convincing that plaintiff’s explanation is implausible. .
                                                                                           10    . . As the Court wrote in Twombly, Rule 8(a) ‘does not impose a probability
                                                                                           11    requirement at the pleading stage; it simply calls for enough fact to raise a
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                                                                                           12    reasonable expectation that discovery will reveal evidence’ to support the
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                                                                                           13    allegations.” Starr v. Baca, 652 F.3d 1202, 1216-1217 (9th Cir. Cal. July 25, 2011)
                                                                                           14    (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007); emphases added).
                                                                                           15            Iqbal and Twombly, therefore, are clear that Federal Rule of Civil Procedure
                                                                                           16    8(a) requires only that the plaintiff “give the defendant fair notice of what the . . .
                                                                                           17    claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555.
                                                                                           18    Accordingly, “Rule 12(b)(6) motions are viewed with disfavor[,]” Broam v. Bogan,
                                                                                           19    320 F.3d 1023, 1028 (9th Cir. 2003), and “[d]ismissal under Rule 12(b)(6) is
                                                                                           20    inappropriate unless [the plaintiff’s] complaint fails to ‘state a claim to relief that is
                                                                                           21    plausible on its face.’” Dahlia v. Rodriguez, 735 F.3d 1060, 1066 (9th Cir. 2013)
                                                                                           22    (en banc) (quoting Twombly, 550 U.S. at 570). The Court may dismiss a claim
                                                                                           23    “only if it appears beyond doubt that the plaintiff could prove no set of facts in
                                                                                           24    support of his claim which would entitle him to relief[,]” Cook v. Brewer, 637 F.3d
                                                                                           25    1002, 1004 (9th Cir. 2011) (citation and quotation marks omitted), after construing
                                                                                           26    the “complaint . . . in the light most favorable to the plaintiff” and “accept[ing] as
                                                                                           27    true all material allegations in the complaint, as well as any reasonable inferences to
                                                                                           28    be drawn from them.” Broam, 320 F.3d at 1028 (citations omitted).
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                                                                                            1           To ensure that a Rule 12(b)(6) motion does not try the case on the merits, as
                                                                                            2   Sweet Pete’s attempts to do here, “[a]s a general rule, a district court may not
                                                                                            3   consider any material beyond the pleadings in ruling on a Rule 12(b)(6) motion.”
                                                                                            4   Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (citation and
                                                                                            5   quotation marks omitted). The only evidence that may be considered outside the
                                                                                            6   four corners of the complaint are “documents attached to the complaint, documents
                                                                                            7   incorporated by reference in the complaint, or matters of judicial notice.” United
                                                                                            8   States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). When a court considers
                                                                                            9   materials outside the pleadings, the Rule 12(b)(6) motion becomes a motion for
                                                                                           10   summary judgment, in which the defendant bears the burden of proof. See Celotex
                                                                                           11   Corp. v. Catrett, 477 U.S. 317, 325 (1986). In that case, “all parties shall be given
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                                                                                           12   reasonable opportunity to present all material made pertinent to such a motion by
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                                                                                           13   Rule 56[,]” Fed. R. Civ. P. 12(b)(6), including supporting factual allegations in the
                                                                                           14   motion with evidence from discovery. See Fed. R. Civ. P. 56(c)(1)(A). Thus where,
                                                                                           15   as here, the defendant seeks to rely on evidence or the absence of evidence to prove
                                                                                           16   failure to state a claim before discovery has even commenced, the motion to
                                                                                           17   dismiss is premature and should be denied.
                                                                                           18   III.    ARGUMENT
                                                                                           19           A.    Trade Dress infringement (Count I) Is Sufficiently Pled
                                                                                           20           The Lanham Act “provides protection for a trade dress, which is the total
                                                                                           21   image of a product, including features such as size, shape, color, texture, and
                                                                                           22   graphics[.]” Millennium Labs. v. Ameritox, Ltd., 817 F.3d 1123, 1126 (9th Cir.
                                                                                           23   2016) (citations and quotation marks omitted). To ultimately prevail on a trade
                                                                                           24   dress claim, the plaintiff must establish: “(1) that its claimed dress is nonfunctional;
                                                                                           25   (2) that its claimed dress serves a source-identifying role either because it is
                                                                                           26   inherently distinctive or has acquired secondary meaning; and (3) that the
                                                                                           27   defendant’s product or service creates a likelihood of consumer confusion.” Clicks
                                                                                           28   Billiards, Inc. v. SixShooters, Inc., 251 F.3d 1252, 1258 (9th Cir. 2001) (citation
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                                                                                            1   omitted). This District has recognized that the plaintiff’s ultimate burden of proof at
                                                                                            2   trial is not equivalent to the standard for what must be alleged at the pleading stage.
                                                                                            3   At this stage, it is enough for a plaintiff to allege (explicitly or by reasonable
                                                                                            4   inference) that its trade dress satisfies all of the above essential elements. See
                                                                                            5   Lepton Labs, LLC v. Walker, 55 F. Supp. 3d 1230, 1240 (C.D. Cal. 2014) (“While a
                                                                                            6   plaintiff cannot adopt a shifting-sands approach to pleading its alleged trade dress,
                                                                                            7   it is also difficult to require the plaintiff to essentially prove—as opposed to simply
                                                                                            8   allege—that its trade dress satisfies all of the essential elements at the pleading
                                                                                            9   stage.”)
                                                                                           10           Sweet Pete’s true objection to the trade dress claim is not that it “fails to put
                                                                                           11   Defendants on sufficient notice of Sugarfina’s claim” (see Mot. 5), but instead takes
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                                                                                           12   issue with whether the essential elements can be proven (e.g., whether the asserted
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                                                                                           13   features are non-functional and have inherent distinctiveness and/or secondary
                                                                                           14   meaning).2 Sweet Pete’s feigned ignorance over which features are “non-
                                                                                           15   2
                                                                                                     None of Sweet Pete’s cited authority is on point for the proposition that
                                                                                           16   Sugarfina’s trade dress claim is not sufficiently articulated. (See Mot. 3-7.) Walker
                                                                                                & Zanger, Inc. v. Paragon, Indus., 549 F. Supp. 2d 1168 (N.D. Cal. 2007), clearly
                                                                                           17
                                                                                                does not apply because it relates to a motion for summary judgment, not a motion
                                                                                           18   based on the pleadings. In Greenberg v. Johnston, 2014 U.S. Dist. LEXIS 194325
                                                                                                (C.D. Cal. Oct. 22, 2014), the only “trade dress” asserted was the plaintiff’s use of
                                                                                           19
                                                                                                the registered business name “California Apostile Services.” The court, while
                                                                                           20   noting that the trade dress claim added no information to distinguish it from a
                                                                                                trademark infringement claim that had previously been dismissed by the court, held
                                                                                           21
                                                                                                that a registered business name by itself does not constitute a prima facie case of
                                                                                           22   trade dress. Id. at *9-10.
                                                                                                   Sleep Science Partners v. Lieberman, 2010 U.S. Dist. LEXIS 45385 (N.D. Cal.
                                                                                           23
                                                                                                May 10, 2010) is likewise distinguishable. The plaintiff there attempted to claim
                                                                                           24   trade dress in its entire website, telephone ordering system, and television
                                                                                                commercial, without either defining its trade dress as the three marketing
                                                                                           25
                                                                                                components in combination, or alleging that specific elements interact to create a
                                                                                           26   particular visual impression. Unlike Sugarfina’s Complaint, the Sleep Science
                                                                                           27   complaint claimed broad trade dress rights in the “size and location” of the text and
                                                                                                graphics on the website; the fact that the website employed hyperlinks; the fact that
                                                                                           28   the plaintiff used a telephone ordering system at all; and a general description of the
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                                                                                            1   functional” is belied by its arguments that the “magnetic latch” and “series of cube
                                                                                            2   wells” perform a function. (See id.) In other words, Sweet Pete’s knows exactly
                                                                                            3   what features are claimed as trade dress. In fact, those discrete and identifiable
                                                                                            4   features are clearly depicted in photographs in paragraph 43 of the Complaint,
                                                                                            5   which is supplemented by detailed descriptions in paragraph 45. Such allegations
                                                                                            6   combined with the images are sufficient to survive a Rule 12(b)(6) motion. See,
                                                                                            7   e.g., Mercado Latino, Inc. v. Indio Prods., Case No. CV 13-01027, 2017 U.S. Dist.
                                                                                            8   LEXIS 55304, at *5-6 (C.D. Cal. Apr. 11, 2017) (finding that “Plaintiff’s relatively
                                                                                            9   detailed description of its claimed trade dress is adequate to put defendant on
                                                                                           10   notice, particularly in light of Plaintiff’s inclusion of images of the claimed trade
                                                                                           11   dress,” and denying the Rule 12(c) motion where “Defendant’s argument regarding
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                                                                                           12   Plaintiff’s description of the claimed trade dress appears to be less a question of
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                                                                                           13   articulation . . . than of overbreadth”); Beats Elecs. LLC v. Yamaha Corp. of Am.,
                                                                                           14   Case No. SACV 13-00209, 2013 U.S. Dist. LEXIS 197449, at *4-5 (C.D. Cal. Apr.
                                                                                           15   22, 2013) (finding adequate notice of the claim where the plaintiff “supplemented
                                                                                           16   this written description with photographs of its headphones showing their
                                                                                           17
                                                                                           18   television commercial without “details of the graphics or any other element of its
                                                                                                television advertisement to qualify as protected trade dress.” Id., at *8-10. Sugarfina
                                                                                           19
                                                                                                has clearly done more than that, since instead of merely saying it uses text and
                                                                                           20   graphics of an indefinite size and location, it identifies specific stylistic features,
                                                                                                such as the solid borderline, the minimal lettering, and other features described in
                                                                                           21
                                                                                                paragraph 45 and depicted in the photographs, which in combination comprise
                                                                                           22   Sugarfina’s trade dress.
                                                                                                    Deckers Outdoor Corp. v. Fortune Dynamic, Inc., 2015 U.S. Dist. LEXIS
                                                                                           23
                                                                                                188274 (C.D. Cal. May 8, 2015) is also distinguishable. Unlike the Deckers
                                                                                           24   plaintiff (id. at *12), Sugarfina has alleged facts showing the existence of
                                                                                                alternative designs that would support the inference that Sugarfina’s unique designs
                                                                                           25
                                                                                                are not functional. (See Compl. ¶ 56.) Similarly, unlike the Deckers plaintiff who
                                                                                           26   never alleged any consumer association (id. at *15), Sugarfina has alleged that
                                                                                           27   customers associate the asserted trade dress with Sugarfina and have found Sweet
                                                                                                Pete’s infringing uses of the trade dress to be confusingly similar. (See Compl. ¶
                                                                                           28   76.)
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                                                                                            1   distinctive design”); Axis Imex, Inc. v. Sunset Bay Rattan, Inc., Case No. C 08-
                                                                                            2   3931, 2009 U.S. Dist. LEXIS 2667, at *8-9 (N.D. Cal. Jan. 7, 2009) (“[The]
                                                                                            3   attached picture in combination with the pleadings regarding the shape, size, and
                                                                                            4   placement of the bows and ribbons, sufficiently identifies the trade dress with
                                                                                            5   particularity to warrant denial of the motion to dismiss the trade dress claim.”).
                                                                                            6           Although Sweet Pete’s argues that the trade dress is not sufficiently
                                                                                            7   described, it is clear from its argument that the real dispute is over whether
                                                                                            8   Sugarfina’s asserted trade dress is nonfunctional and distinctive. But both these
                                                                                            9   prongs, much like the third prong of likelihood of confusion, are questions of fact
                                                                                           10   that need not be resolved to satisfy the pleading standard.
                                                                                           11                 1.     Functionality Is a Question of Fact
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                                                                                           12           Because “the functionality analysis . . . is a question of fact,” Secalt S.A. v.
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                                                                                           13   Wuxi Shenxi Constr. Machinery Co., Ltd., 668 F.3d 677, 683 (9th Cir. 2012), courts
                                                                                           14   find that “a motion to dismiss is not a proper vehicle by which the court should
                                                                                           15   weigh functionality in a trade dress infringement claim.” Sambonet Paderno
                                                                                           16   Industrie, S.P.A. v. Sur La Table, Inc., Case No. CV 14-9473, 2015 U.S. Dist.
                                                                                           17   LEXIS 96329, at *9 (C.D. Cal. July 23, 2015); see also Morton v. Rank Am., Inc.,
                                                                                           18   812 F. Supp. 1062, 1069 (C.D. Cal. 1993) (“Because functionality is a question of
                                                                                           19   fact, Plaintiffs’ claim under Section 43(a) of the Lanham Act cannot be dismissed
                                                                                           20   on the grounds that the [asserted] trade dress is functional.”). Nor is it proper to
                                                                                           21   examine individual features of the claimed dress, such as a magnetic latch or cube
                                                                                           22   wells in isolation, in order to characterize them as functional. Courts “examine
                                                                                           23   trade dress as a whole to determine its functionality; functional elements that are
                                                                                           24   separately unprotectable can be protected together as part of a trade dress.”
                                                                                           25   Fuddruckers, Inc. v. Doc’s B.R. Others, Inc., 826 F.2d 837, 842 (9th Cir. 1987)
                                                                                           26   (citations omitted); see also Clicks Billiards, 251 F.3d 1252.3
                                                                                           27   3
                                                                                                 For example, in Clicks Billiards, 251 F.3d 1252, the Ninth Circuit reversed the
                                                                                           28   district court’s summary judgment finding that the claimed trade dress was
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                                                                                            1           Furthermore, a design feature is functional “if it is essential to the use or
                                                                                            2   purpose of the article or if it affects the cost or quality of the article, that is, if
                                                                                            3   exclusive use of the feature would put competitors at a significant, non-reputation-
                                                                                            4   related disadvantage.” Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159, 165
                                                                                            5   (1995) (citation and quotations omitted). Purely aesthetic features are not
                                                                                            6   functional. Clicks Billiards, 251 F.3d at 1260. Because the crux of the functionality
                                                                                            7   question is whether competition will be unduly impeded if the plaintiff claims a
                                                                                            8   monopoly on an essential feature, “as long as there are alternate ways to design [the
                                                                                            9   accused product], beyond the arrangement protected by the trade dress, the [trade
                                                                                           10   dress] should not be considered functional.” Ingrid & Isabel, LLC v. Baby Be Mine,
                                                                                           11   LLC, 70 F. Supp. 3d 1105, 1137-38 (N.D. Cal. 2014) (citation and quotations
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                                                                                           12   marks omitted); see also Clicks Billiards, 251 F.3d at 1260 (weighing “whether
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                                                                                           13   alternative designs are available” as one of four factors of the functionality test);
                                                                                           14   Mot. 6 (citing Limo Hosting, Inc. v. Fiks, No. C 08-2474 BZ (N.D. Cal. Dec. 17,
                                                                                           15   2008) identifying “utilitarian advantage, availability of alternative designs, and
                                                                                           16   economies in manufacture or use” as indicia of functionality).
                                                                                           17           Here, alternative designs are amply illustrated in Sweet Pete’s pre-2014
                                                                                           18   packaging, which is provided in paragraphs 54 and 56 of the Complaint.
                                                                                           19
                                                                                           20
                                                                                           21
                                                                                           22   functional based on the fact that it included “size, placement, and layout of the pool
                                                                                                tables; the color combination, including the contrast between the carpet and the
                                                                                           23
                                                                                                dark wood; the lighting; the neon beer signs, bar tap handles, and the like; the cue
                                                                                           24   racks; the selection of video games; the floor covering; the wall treatment; the drink
                                                                                                rails; and the millwork.” Id., at 1261. While acknowledging that “many of these
                                                                                           25
                                                                                                elements, considered in isolation, may be functional,” the court emphasized that
                                                                                           26   “[t]he issue, however, is whether, taken as a whole, the overall look and feel of the
                                                                                           27   establishment is functional.” Id. Based on this standard, the court concluded that the
                                                                                                plaintiff sufficiently raised an issue of fact that the trade dress of its pool halls was
                                                                                           28   nonfunctional.
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                                                                                            6
                                                                                            7           These allegations support a reasonable inference that Sweet Pete’s was

                                                                                            8   capable of packaging and selling candy for 30 years4 without stealing any of

                                                                                            9   Sugarfina’s unique aesthetic innovations that it now tries to claim are functional.

                                                                                           10   The photographs of Sweet Pete’s own alternative designs make it abundantly clear

                                                                                           11   that the solid borderline around the product package; the use of a magnetic latch; a
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                                                                                           12   rectangular product package with minimal lettering; the inside bottom surface of the
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                                                                                                product package dominated by a series of cube wells or trays; and other claimed
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                                                                                           13
                                                                                           14   features, both alone and in combination, are neither essential to packaging candy

                                                                                           15   nor confer any benefit to Sweet Pete’s aside from enabling it to trade on Sugarfina’s

                                                                                           16   reputation by carefully imitating the look and feel of Sugarfina’s trade dress.

                                                                                           17           Though the plaintiff, at summary judgment or trial, “may ultimately be

                                                                                           18   unable to prove that the features it alleges as its trade dress are not functional,”

                                                                                           19   dismissing the trade dress claim on a Rule 12(b)(6) motion is premature because

                                                                                           20   “the opposite may be true as well. Construing [plaintiffs’] complaint liberally, the

                                                                                           21   question now is whether its allegations have been sufficiently pled.” Sambonet,

                                                                                           22   2015 U.S. Dist. LEXIS 96329, at *8 (citation and quotation marks omitted). Sweet

                                                                                           23   Pete’s cannot credibly argue that it has no idea what protectable trade dress claims

                                                                                           24   Sugarfina may assert when Sweet Pete’s itself dissected and copied precisely the

                                                                                           25   same features identified in the Complaint in order to give itself a total brand

                                                                                           26
                                                                                                4
                                                                                           27    Sweet Pete’s predecessor company Peterbrooke Chocolatier had sold candy for as
                                                                                                many as 30 years, but never embodied the same combination of design elements of
                                                                                           28   Sugarfina’s presentation. (Compl. ¶ 54.)
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                                                                                            1   makeover imitating Sugarfina. Sweet Pete’s also cannot credibly argue these
                                                                                            2   features were copied because of any of these feature’s “function.”
                                                                                            3                 2.     Distinctiveness Is a Question of Fact
                                                                                            4           Like functionality, the distinctiveness of a trade dress is a question of fact.
                                                                                            5   Zobmondo Entm’t, LLC v. Falls Media, LLC, 602 F.3d 1108, 1113 (9th Cir. 2010).
                                                                                            6   As a result, “[p]laintiff need not make any showing or provide any evidence at the
                                                                                            7   pleading stage.” Mercado Latino, 2017 U.S. Dist. LEXIS 55304, at *8. Because
                                                                                            8   “[a] product’s trade dress acquires secondary meaning when the purchasing public
                                                                                            9   associates the dress with a single producer or source rather than just the product
                                                                                           10   itself[,]” courts have found that distinctiveness may be sufficiently pled with factual
                                                                                           11   allegations that the asserted trade dress was extensively advertised, promoted, and
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                                                                                           12   used exclusively by the plaintiff. First Brands Corp. v. Fred Meyer, Inc., 809 F.2d
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                                                                                           13   1378, 1383 (9th Cir. 1987); see, e.g., Clamp Mfg. Co., Inc. v. Enco Mfg. Co., Inc.,
                                                                                           14   870 F.2d 512, 517 (9th Cir. 1989) (“Evidence of use and advertising over a
                                                                                           15   substantial period of time is enough to establish secondary meaning.”); DocMagic,
                                                                                           16   Inc. v. Ellie Mae, Inc., 745 F. Supp. 2d 1119, 1140 (N.D. Cal. Oct. 12, 2010)
                                                                                           17   (finding “a plausible inference that consumers generally viewed the alleged trade
                                                                                           18   dress as primarily identifying [plaintiff] as the source of the product,” where the
                                                                                           19   complaint alleged that “use of this trade dress was long-standing and exclusive, that
                                                                                           20   it has been used consistently on [plaintiff’s products], and that users of the re-
                                                                                           21   branded services knew that those services were being provided by [plaintiff] based
                                                                                           22   on this trade dress.”). Allegations that customers recognize the plaintiff’s trade
                                                                                           23   dress, or have confused the source of the accused products to be the plaintiff, may
                                                                                           24   also be sufficient to show distinctiveness. See, e.g., Brian Lichtenberg, LLC v. Alex
                                                                                           25   & Chloe, Inc., Case No. CV 13-06837, 2014 U.S. Dist. LEXIS 18607, at *14 (C.D.
                                                                                           26   Cal. Feb. 13, 2014) (finding trade dress claims sufficiently pled where the
                                                                                           27   complaint “repeatedly alleges that consumers ‘instantly recognize’ [plaintiff’s]
                                                                                           28   designs and products, that ‘the public has come to know [the trade dress]
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                                                                                            1   exclusively as hallmarks’ of [plaintiff’s] products, and that consumers have been
                                                                                            2   confused when presented with images of [defendant’s] products bearing the alleged
                                                                                            3   trade dress”).
                                                                                            4           Here, Sugarfina has provided ample facts to support secondary meaning. The
                                                                                            5   Complaint alleges that Sugarfina’s trade dress was extensively advertised,
                                                                                            6   promoted, and used exclusively by Sugarfina, even to the point that it won awards
                                                                                            7   for Sugarfina. (See Compl. ¶¶ 6, 24-27, 83-84; Mot. 6-7.) Customers identify the
                                                                                            8   trade dress with Sugarfina so closely that the purchasing public has noted that
                                                                                            9   Sweet Pete’s product packaging is confusingly similar to Sugarfina’s. (See Compl.
                                                                                           10   ¶ 76.5) Sweet Pete’s is free to rebut these allegations with contrary evidence on
                                                                                           11   summary judgment or at trial. However, on a Rule 12(b)(6) motion, these factual
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                                                                                                5
                                                                                                  Since filing the Complaint, Sugarfina has obtained further evidence of likely or
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                                                                                           13   actual customer confusion. On June 17, 2017, Marcus Lemonis, the manager of
                                                                                           14   Defendant ML Sweets, published a post on Facebook denouncing the lawsuit,
                                                                                                including making demonstrably false and libelous statements: “It’s total bs and
                                                                                           15   based on public records they have a habit of doing it to others.” Some customers in
                                                                                           16   the marketplace responded to the post—i.e., individuals who follow or are
                                                                                                “friends” with Marcus Lemonis—commenting that the packaging is similar.
                                                                                           17       • “Marcus Lemonis, these are sugarfina, did they have all this packaging first?
                                                                                           18          Even the colors are the similar. I googled and couldn't find any evidence of
                                                                                                       the company having a history of frivolous lawsuits. I'm not saying that you
                                                                                           19          are a liar but I am asking where that information would be found?”
                                                                                           20       • “It is too similar and the fact that Sweet Pete copied the trademark name
                                                                                                       ‘Cuba Libre’ in the top row of the candy boxes will not look good and really
                                                                                           21
                                                                                                       proves they were looking at the Sugarfina brand and their bento box
                                                                                           22          marketing concept[.]”
                                                                                                    • “If the other product has a similar appearance, packaging, that causes
                                                                                           23
                                                                                                       confusion then it is most likely a trademark case and give[n] the comparative
                                                                                           24          timelines and Sweet Pete’s notoriety it looks like there’s both confusion and
                                                                                                       intent.”
                                                                                           25
                                                                                                To the extent it may be helpful to the Court in deciding whether the allegations of
                                                                                           26   secondary meaning should be amended, and if the Court elects to review extrinsic
                                                                                           27   evidence and convert Sweet Pete’s motion into a motion for summary judgment,
                                                                                                Sugarfina respectfully requests leave to submit the above Facebook publication, as
                                                                                           28   well as additional evidence, in support of secondary meaning.
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                                                                                            1   allegations must be accepted as true. See Mercado Latino, 2017 U.S. Dist. LEXIS
                                                                                            2   55304, at *8-9 (“Although the veracity of those allegations remains to be seen, they
                                                                                            3   are adequate to survive a motion for judgment on the pleadings.”).
                                                                                            4           B.    Trademark Infringement Under the Lanham Act (Count II) Is
                                                                                            5                 Sufficiently Pled
                                                                                            6           “To prevail on a claim of trademark infringement under the Lanham Act, 15
                                                                                            7   U.S.C. § 1114 ff., a party must prove: (1) that it has a protectable ownership interest
                                                                                            8   in the mark; and (2) that the defendant’s use of the mark is likely to cause consumer
                                                                                            9   confusion.” Network Automation, Inc. v. Advanced Sys. Concepts, Inc., 638 F.3d
                                                                                           10   1137, 1144 (9th Cir. 2011) (citation and quotation marks omitted). Sweet Pete’s
                                                                                           11   Motion appears to challenge the first prong only, on the basis that Sugarfina’s
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                                                                                           12   asserted marks CUBA LIBRE and CANDY BENTO BOX are not protectable.
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                                                                                           13   Notably, Sweet Pete’s does not challenge Sugarfina’s mark PEACH BELLINI; this
                                                                                           14   alone makes dismissal of the entire Count II unwarranted, as there is at least one
                                                                                           15   mark for which Sweet Pete’s has raised no arguments to meet its burden on a Rule
                                                                                           16   12(b)(6) motion.
                                                                                           17           Sweet Pete’s only basis for moving to dismiss the trademark infringement
                                                                                           18   claim is that the marks CUBA LIBRE and CANDY BENTO BOX are registered on
                                                                                           19   the Supplemental Register. But Sweet Pete’s misguided focus on the Supplemental
                                                                                           20   Register is improper for multiple reasons. First, the case is at the pleadings stage
                                                                                           21   and the Court is precluded from inferring that registration on the Supplemental
                                                                                           22   Register is a concession that the marks are not protected. Instead, trademark
                                                                                           23   validity is “an intensely factual issue[,]” KP Permanent Make-Up, Inc. v. Lasting
                                                                                           24   Impression I, Inc., 408 F.3d 596, 605 (9th Cir. 2005), that should not be resolved on
                                                                                           25   a Rule 12(b)(6) motion.
                                                                                           26           Second, distinctiveness, not registration, determines whether a mark is
                                                                                           27   entitled to protection. Although an inherently distinctive mark—i.e., arbitrary,
                                                                                           28   fanciful, or suggestive mark—is automatically entitled to protection, Kendall-
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                                                                                            1   Jackson Winery, Ltd. v. E. & J. Gallo Winery, 150 F.3d 1042, 1047 (9th Cir. 1998),
                                                                                            2   a descriptive mark is protectable if the trademark owner proves the mark has
                                                                                            3   secondary meaning. Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 769
                                                                                            4   (1992). Though registration on the Principal Register “provides ‘prima facie
                                                                                            5   evidence’ of the mark’s validity,” Zobmondo, 602 F.3d at 1113, the lack of such
                                                                                            6   registration says nothing about the mark’s distinctiveness. “[A] claimant may prove
                                                                                            7   the validity of an unregistered mark without the benefit of the presumption of
                                                                                            8   validity that registration confers.” Toho Co. v. Sears, Roebuck & Co., 645 F.2d 788,
                                                                                            9   790 (9th Cir. 1981).
                                                                                           10           Contrary to Sweet Pete’s misleading assertions, registration on the
                                                                                           11   Supplemental Register does not constitute an admission that the marks are
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                                                                                           12   descriptive as a matter of law. (See Mot. 8.) Sweet Pete’s cited authority, Quoc Viet
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                                                                                           13   Foods, Inc. v. VV Foods, LLC, 192 F. Supp. 3d 1067 (C.D. Cal. 2016), pertains to
                                                                                           14   the admissibility and weight of evidence at trial—not the legal sufficiency of a
                                                                                           15   trademark infringement claim. The court in that case observed that registration on
                                                                                           16   the Supplemental Register was properly admitted at trial as an admission against
                                                                                           17   interest, but that the plaintiff was free to present contrary evidence that the mark
                                                                                           18   was suggestive—i.e., inherently distinctive. Contrary to Sweet Pete’s argument, the
                                                                                           19   court explicitly rejected the notion that “the marks are descriptive as a matter of law
                                                                                           20   because [plaintiff] chose to accept registration on the Supplemental Register.” Id. at
                                                                                           21   1076 n.7. Rather, because “[r]egistration (or failure to register) ‘neither expands nor
                                                                                           22   diminishes common law rights,’” the court emphasized that “a party who registers a
                                                                                           23   trademark on the Supplemental Register does not ‘come[] away with fewer rights
                                                                                           24   than it would have had if it had not sought registration at all.’” Id. (quoting
                                                                                           25   California Cooler, Inc. v. Loretto Winery, Ltd., 774 F.2d 1451, 1454 (9th Cir.
                                                                                           26   1985)).
                                                                                           27           Thus, Sweet Pete’s cannot use Sugarfina’s registrations on the Supplemental
                                                                                           28   Register as a “gotcha” tactic to foreclose future arguments for validity and/or to
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                                                                                            1   prove that the CUBA LIBRE and CANDY BENTO BOX marks are invalid as a
                                                                                            2   matter of law. Moreover, to the extent that Sugarfina is required to make factual
                                                                                            3   allegations in the Complaint to support a reasonable inference of validity, Sugarfina
                                                                                            4   has done so by pleading facts relating to its extensive advertisement, promotion,
                                                                                            5   and exclusive use the marks to establish secondary meaning. (See Compl. ¶¶ 6, 24-
                                                                                            6   27.)
                                                                                            7           C.    Common Law Trademark Infringement (Count III) Is Sufficiently
                                                                                            8                 Pled
                                                                                            9           For the same reasons stated above, Sugarfina’s Count III for common law
                                                                                           10   trademark infringement should withstand Sweet Pete’s Motion to Dismiss. The
                                                                                           11   Motion concedes that common law trademark infringement claims have the same
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                                                                                           12   elements as Lanham Act claims: (1) ownership of a valid mark and (2) likelihood of
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                                                                                           13   confusion. (Mot. 9.) But the overlap between the legal standards does not make the
                                                                                           14   Complaint “allege[] violations of the Lanham Act rather than infringement under
                                                                                           15   California common law” (id.), so as to require dismissal of the common law count.
                                                                                           16   The Ninth Circuit recognizes that the two types of trademark infringement claims
                                                                                           17   are distinct, even where the plaintiff’s “state law trademark infringement claim (as
                                                                                           18   well as [its] claim under the UCL to the extent it is based on infringement grounds)
                                                                                           19   is subject to the same legal standards as the[] Lanham Act trademark claim.”
                                                                                           20   Rearden LLC v. Rearden Commerce, Inc., 683 F.3d 1190, 1221 (9th Cir. 2012).
                                                                                           21           Sweet Pete’s raises the same incorrect objection to the common law count as
                                                                                           22   to the Lanham Act count, that Sugarfina has not made sufficient allegations as to
                                                                                           23   the validity of Sugarfina’s registered and unregistered marks. To bolster this
                                                                                           24   argument, Sweet Pete’s attempts to demonstrate that the marks are “generic.” (See
                                                                                           25   Mot. 9-10.) But Sweet Pete’s is clearly wrong as to the genericness of CUBA
                                                                                           26   LIBRE and CANDY BENTO BOX, since even “[r]egistration on the supplemental
                                                                                           27   register means that the trademark examiner has determined that the mark is
                                                                                           28   ‘capable of distinguishing.’” California Cooler, 774 F.2d at 1454 (quoting 15
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                                                                                            1   U.S.C. § 1091). A mark that may be ‘capable of distinguishing’ is not generic. See
                                                                                            2   Yellow Cab Co. v. Yellow Cab of Elk Grove, Inc., 419 F.3d 925, 928 (9th Cir. 2005)
                                                                                            3   (“Generic marks lack any distinctive quality, and therefore are not entitled to
                                                                                            4   trademark protection”); 2 McCarthy on Trademarks and Unfair Competition §
                                                                                            5   12:59 (4th ed.) (“A designation which is a generic name for goods or services
                                                                                            6   cannot appear on the Supplemental Register . . . .”). Thus, CUBA LIBRE and
                                                                                            7   CANDY BENTO BOX are not generic.
                                                                                            8           Sweet Pete’s then attempts to prove genericness by impermissibly relying on
                                                                                            9   evidence that is not in the Complaint, not part of the record of the case, not subject
                                                                                           10   to judicial notice, and that has not even been introduced as evidence for the Motion
                                                                                           11   through a declaration from an authenticating witness. Sweet Pete’s presents only
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                                                                                           12   naked attorney argument—e.g., that “‘Fruttini’ and ‘Cuba Libre’ are generic for the
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                                                                                           13   flavors of drinks that Plaintiff’s candies seek to replicate”—or inadmissible
                                                                                           14   hearsay—e.g., citing an online dictionary to offer definitions for “bento box” and
                                                                                           15   “concierge.” (See Mot. 9-10.) To the extent the parties disagree that the asserted
                                                                                           16   marks are valid and distinctive, that dispute should be resolved on summary
                                                                                           17   judgment or at trial, not on a motion to dismiss, and certainly not on the basis of
                                                                                           18   conjecture and hearsay. See Wild v. HarperCollins Publrs., LLC, Case No. SACV
                                                                                           19   12-1191, 2012 U.S. Dist. LEXIS 196356, at *10 (C.D. Cal. Nov. 29, 2012) (“[T]he
                                                                                           20   validity of Plaintiff’s unregistered marks is not a matter that the Court will resolve
                                                                                           21   on a motion to dismiss.”).
                                                                                           22           D.    Unfair Competition (Count IV) Is Sufficiently Pled
                                                                                           23           Sweet Pete’s is correct that Sugarfina’s claims under California’s Unfair
                                                                                           24   Competition Law (“UCL”), Cal. Bus. & Prof. Code § 172000 et seq., may be
                                                                                           25   “substantially congruent” to the trademark infringement claims. (Mot. 11.) To the
                                                                                           26   extent the Court finds that the trademark infringement claims are adequately pled,
                                                                                           27   the Court should likewise deny the motion to dismiss the UCL claims.
                                                                                           28
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                                                                                            1           But even if the Court were to determine that the trademark infringement
                                                                                            2   claims should be dismissed, it does not necessarily follow that the UCL claims must
                                                                                            3   fail as well. In addition to pleading unlawful conduct based on trademark
                                                                                            4   infringement, the Complaint also alleges that Sweet Pete’s engaged in unlawful
                                                                                            5   conduct by violating Sugarfina’s patents and copyrights. (See Compl. ¶ 122.) Thus,
                                                                                            6   so long as one of those claims remains valid, Sugarfina has pled sufficient facts to
                                                                                            7   support the UCL claim. See Kasky v. Nike, Inc., 27 Cal. 4th 939 (Cal. 2002) (“[T]he
                                                                                            8   UCL permits violations of other laws to be treated as unfair competition that is
                                                                                            9   independently actionable.”).
                                                                                           10           E.    Unjust Enrichment (Count V) Is Sufficiently Pled
                                                                                           11           The Ninth Circuit recognizes that an unjust enrichment claim may be
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                                                                                           12   separately pled as a claim for restitution, even if it is not a standalone cause of
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                                                                                           13   action under state law. “[U]njust enrichment and restitution are not irrelevant in
                                                                                           14   California law. Rather, they describe the theory underlying a claim that a defendant
                                                                                           15   has been unjustly conferred a benefit through mistake, fraud, coercion, or request.”
                                                                                           16   Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015) (citation and
                                                                                           17   quotation marks omitted). Here, Sweet Pete’s has been unjustly conferred a benefit
                                                                                           18   by taking a unilateral license to Sugarfina’s intellectual property rights. The unjust
                                                                                           19   enrichment claim permits recovery on the theory that this forced license entitles
                                                                                           20   Sugarfina to a reasonable royalty as the unwilling licensor. See, e.g., Lindy Pen Co.
                                                                                           21   v. Bic Pen Corp., 982 F.2d 1400, 1406 (9th Cir. 1993) (superseded on other
                                                                                           22   grounds) (“Because proof of actual damage is often difficult, a court may award
                                                                                           23   damages based on defendant’s profits on the theory of unjust enrichment.”). That
                                                                                           24   the unjust enrichment claim may be “duplicative of or superfluous” to Sugarfina’s
                                                                                           25   other claims “is not grounds for dismissal.” Astiana, 783 F.3d at 762. See also Fed.
                                                                                           26   R. Civ. P. 8(d)(2) (“A party may set out 2 or more statements of a claim or defense
                                                                                           27   alternatively or hypothetically, either in a single count or defense or in separate
                                                                                           28   ones.”). Thus, the Ninth Circuit instructs that “[w]hen a plaintiff alleges unjust
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                                                                                            1   enrichment, a court may construe the cause of action as a quasi-contract claim
                                                                                            2   seeking restitution” instead of dismissing the claim. Astiana, 783 F.3d at 762.
                                                                                            3           F.    Design Patent Infringement (Count VI) Is Sufficiently Pled
                                                                                            4           Sweet Pete’s erroneously states that the claim for design patent infringement
                                                                                            5   “cites only a single section of the Patent Act, 35 U.S.C. § 285.” (Mot. 12.) Sweet
                                                                                            6   Pete’s is mistaken, since Count VI incorporates by reference all the preceding
                                                                                            7   paragraphs in the Complaint. (See Compl. ¶ 131.) Paragraphs 19 and 122 allege that
                                                                                            8   Sweet Pete’s committed acts of patent infringement in violation of 35 U.S.C. § 271.
                                                                                            9   Thus, Sweet Pete’s is on clear notice of “which section(s) of the patent law Plaintiff
                                                                                           10   contends Defendants violated.” (Mot. 12.)
                                                                                           11           G.    Copyright Infringement (Count VII) Is Sufficiently Pled
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                                                                                           12           The allegations in the Complaint fully address the two elements of copyright
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                                                                                           13   infringement: (1) ownership of the asserted copyrights is alleged at paragraphs 51,
                                                                                           14   71, and 137, and (2) copying and substantial similarity are alleged in paragraphs 53
                                                                                           15   to 58, 78, 79, and 139. See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340,
                                                                                           16   361 (1991) (“To establish infringement, two elements must be proven: (1)
                                                                                           17   ownership of a valid copyright, and (2) copying of constituent elements of the work
                                                                                           18   that are original.”); Mot. 12 (same). Moreover, substantial similarity is evident in
                                                                                           19   the photographs and exhibits in the Complaint, since both Sugarfina’s copyrighted
                                                                                           20   works and Sweet Pete’s infringing works are visual works that can be readily
                                                                                           21   compared from the images incorporated into the Complaint.
                                                                                           22           As with the trade dress and trademark claims, Sweet Pete’s does not dispute
                                                                                           23   that it has adequate notice of the facts relied on to establish the two elements of the
                                                                                           24   copyright claim. Instead, Sweet Pete’s disputes whether Sugarfina’s copyrights
                                                                                           25   protect truly “original” works, again arguing that the design features Sweet Pete’s
                                                                                           26   stole are functional or utilitarian features that cannot be considered when
                                                                                           27   determining originality. (See Mot. 12.) But because originality is a question of fact,
                                                                                           28   Sweet Pete’s argument should be disregarded as improperly addressing the merits
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                                                                                            1   of the claim, not the sufficiency of the pleadings. See Direct Techs., LLC v. Elec.
                                                                                            2   Arts, Inc., 836 F.3d 1059, 1068 (9th Cir. 2016) (“[T]he question of originality
                                                                                            3   warrants decision by a jury.”).
                                                                                            4           Sweet Pete’s further raises the irrelevant point that “Plaintiff’s copyright
                                                                                            5   protection extends only to the particular two-dimensional expression embodied in
                                                                                            6   Plaintiff’s works, and not functional ideas . . . .” (Mot. 13.) Sugarfina’s copyrights
                                                                                            7   cover designs for products and ornamentation, which although registered as 2-D
                                                                                            8   works, contemplate and depict 3-D works. Thus, any 3-D rendering of the
                                                                                            9   copyrighted 2-D designs would be a derivative work to which Sugarfina has
                                                                                           10   exclusive rights. See 17 U.S.C. § 106(2). If any question remains as to whether
                                                                                           11   Sweet Pete’s 3-D renderings are sufficiently different from the copyrighted 2-D
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                                                                                           12   works to avoid infringement, the dispute is a factual question that should not be
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                                                                                           13   resolved on a motion to dismiss. See Direct Techs., 836 F.3d at 1067 (“[I]t cannot
                                                                                           14   properly be said as a matter of law that the manner in which [defendant] designed
                                                                                           15   the [derivative work] was merely utilitarian or functional. A reasonable jury could
                                                                                           16   answer that question in either party’s favor.”).
                                                                                           17   IV.     SWEET PETE’S MOTION IS PROCEDURALLY DEFICIENT
                                                                                           18           Sweet Pete’s Motion should be denied because Sweet Pete’s failed to comply
                                                                                           19   with the applicable federal and local rules, including (1) failing to meet and confer
                                                                                           20   and (2) responding on behalf of the two individual defendants who are already in
                                                                                           21   default.
                                                                                           22           A.    Sweet Pete’s Failed to Meet and Confer Before Filing this Motion
                                                                                           23           Sweet Pete’s Motion fails to comply with Local Rule 7-3, which requires that
                                                                                           24   “counsel contemplating the filing of any motion shall first contact opposing counsel
                                                                                           25   to discuss thoroughly, preferably in person, the substance of the contemplated
                                                                                           26   motion and any potential resolution . . . at least seven (7) days prior to the filing of
                                                                                           27   the motion.” The Court may strike motions that are brought without the required
                                                                                           28   meet-and-confer. See, e.g., N. Am. Wellness Ctr. Holdings LLC v. Temecula Valley
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                                                                                            1   Real Estate, Inc., Case No. 5:16-CV-02010, Dkt. No. 74 (C.D. Cal. July 18, 2017)
                                                                                            2   (Phillips, C.J.) (“[T]he parties must comply with Local Rule 7-3 and are ordered to
                                                                                            3   meet and confer in a good faith effort to eliminate the necessity for hearing the
                                                                                            4   motion or to eliminate as many disputes as possible.”). The Court may also deny a
                                                                                            5   motion that was brought after a meet-and-confer, if that meet-and-confer did not
                                                                                            6   take place sufficiently in advance of filing the motion. See, e.g., Neev v. Abbott
                                                                                            7   Medical Optics Inc., Case No. 8:15-cv-01992, Dkt. No. 207 (C.D. Cal. Feb. 23,
                                                                                            8   2017) (“Here, [cross-defendant] did not comply with Local Rule 7-3 because he
                                                                                            9   filed his motion only five days after he met and conferred with [cross-plaintiff].”).
                                                                                           10           Here, the only conversation that took place between counsel regarding this
                                                                                           11   Motion was the spontaneous call from Sweet Pete’s counsel, Michael Kelber, to
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                                                                                           12   Sugarfina’s counsel, Jennifer Trusso Salinas, on July 25, 2017—only three days
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                                                                                           13   before Sweet Pete’s deadline to respond to the Complaint. (Declaration of Jennifer
                                                                                           14   Trusso Salinas (“Salinas Decl.”) ¶ 3.) Sugarfina had no notice that Sweet Pete’s
                                                                                           15   intended to file a motion to dismiss, or time to prepare for a substantive discussion.
                                                                                           16   (Id., at ¶ 4.) Mr. Kelber called Ms. Salinas and asked if she had some time to
                                                                                           17   discuss the case. (Id.) Mr. Kelber stated that he was calling to see if Sugarfina
                                                                                           18   would be willing to amend its complaint to address “some deficiencies.” (Id.) Mr.
                                                                                           19   Kelber stated that if Sugarfina did not agree to amend the complaint, Sweet Pete’s
                                                                                           20   would be filing a motion to dismiss. (Id.) Ms. Salinas advised Mr. Kelber that a
                                                                                           21   motion to dismiss would be inappropriate since the parties never held a meet and
                                                                                           22   confer conference. (Id., at ¶ 5.) Mr. Kelber admitted that he was unaware of the
                                                                                           23   meet and confer requirement of Local Rule 7-3. (Id., at ¶ 6.) Never once did Mr.
                                                                                           24   Kelber ask that the parties conduct the meet and confer conference at that time or
                                                                                           25   some later time when they could, in accordance with Local Rule 7-3, “discuss
                                                                                           26   thoroughly … the substance of the contemplated motion and any potential
                                                                                           27   resolution.” (Id., at ¶ 7.) Instead, Mr. Kelber stated that if Sweet Pete’s was time
                                                                                           28   barred from bringing a motion to dismiss it would bring a motion for judgment on
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                                                                                            1   the pleadings and, therefore, it might behoove Sugarfina to amend its Complaint
                                                                                            2   now. (Id.)
                                                                                            3           Moreover, Sweet Pete’s counsel continued to undermine the purpose of the
                                                                                            4   meet-and-confer process by requesting that Sugarfina promise to amend its
                                                                                            5   Complaint before he would agree to share Sweet Pete’s bases for the motion to
                                                                                            6   dismiss. (Id., at ¶ 8.) When Ms. Salinas informed Mr. Kelber that it would be
                                                                                            7   difficult to get such an agreement from Sugarfina without knowing the bases for the
                                                                                            8   motion, Mr. Kelber finally agreed to provide some of these details. (Id., at ¶ 9.)
                                                                                            9   However, as Ms. Salinas repeatedly advised Mr. Kelber, Ms. Salinas was simply
                                                                                           10   going to take notes of what Mr. Kelber stated since she was not prepared to have a
                                                                                           11   substantive discussion. (Id., at ¶ 10.) More specifically, Ms. Salinas advised Mr.
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                                                                                           12   Kelber that she did not have the Complaint in front of her and was not adequately
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                                                                                           13   prepared to address every single topic he raised since she was blindsided by the
                                                                                           14   phone call. (Id.) Although Mr. Kelber proceeded to discuss some of the deficiencies
                                                                                           15   raised in the Motion, Mr. Kelber was also unprepared to conduct a meet and confer
                                                                                           16   conference. During the impromptu call, Ms. Salinas asked for examples and
                                                                                           17   authority supporting Sweet Pete’s deficiency claims, which Mr. Kelber simply
                                                                                           18   could not provide. (Id. at ¶ 11.) For example, as demonstrated above, many of Mr.
                                                                                           19   Kelber’s points went to the merits of the claims and not the sufficiency of the
                                                                                           20   pleadings. (Id.) When Ms. Salinas pointed this out and asked for authority that this
                                                                                           21   could be appropriately addressed in a motion to dismiss, Mr. Kelber could not
                                                                                           22   provide such authority. (Id.)
                                                                                           23           Because Sweet Pete’s failed to engage in a good faith meet-and-confer
                                                                                           24   process that may have permitted the parties to resolve their disagreements without
                                                                                           25   intervention by the Court, Sweet Pete’s Motion to Dismiss should be denied on
                                                                                           26   procedural grounds alone.
                                                                                           27
                                                                                           28
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                                                                                            1           B.    Peter and Allison Behringer Are in Default and Their Motion to
                                                                                            2                 Dismiss Is Untimely
                                                                                            3           In addition, the Motion is untimely at least with respect to Defendants Peter
                                                                                            4   Behringer and Allison Behringer because these defendants are currently in default.
                                                                                            5   Neither Peter Behringer nor Allison Behringer filed an answer or response to the
                                                                                            6   Complaint by the deadline of July 14, 2017. (Salinas Decl. ¶ 18.) In fact,
                                                                                            7   Defendants’ counsel limited the stipulation for extension of time to the company
                                                                                            8   defendants. (Id., at ¶ 12-14.) Mr. Kelber represented that such stipulation would be
                                                                                            9   “on behalf of both defendant LLCs who were served . . . making both parties’
                                                                                           10   responsive pleadings due on the 28th.” (Id., at ¶ 12.)
                                                                                           11           According to Mr. Kelber’s email dated July 28, 2017, he did not include
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                                                                                           12   Peter Behringer and Allison Behringer in the stipulation because he was “unaware
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                                                                                           13   that the individual defendants had been served in their individual capacities . . . ”
                                                                                           14   and failed to account for proper service. (Id., at ¶ 17.) Yet, the ECF notices, which
                                                                                           15   Defendants’ counsel had access to, unambiguously state that the individual
                                                                                           16   defendants had been served and that their responses to the Complaint were due on
                                                                                           17   July 14, 2017. (Id., at ¶ 18.) Accordingly, the Court should deny Sweet Pete’s
                                                                                           18   noncompliant Motion to Dismiss as untimely at least as to Peter Behringer and
                                                                                           19   Allison Behringer.
                                                                                           20   V.      IN THE ALTERNATIVE, THE COMPLAINT SHOULD BE
                                                                                           21           AMENDED INSTEAD OF DISMISSED
                                                                                           22           In the alternative, if the Court should determine that the Complaint does not
                                                                                           23   plead sufficient allegations to put Sweet Pete’s on notice of the claims, and that
                                                                                           24   Sugarfina is not prejudiced by Sweet Pete’s noncompliance with the federal and
                                                                                           25   local rules in bringing this Motion, Sugarfina respectfully requests that it be granted
                                                                                           26   leave to amend the Complaint to address any deficiencies. “Dismissal without leave
                                                                                           27   to amend is proper only in ‘extraordinary’ cases,” Broam, 320 F.3d at 1028, such as
                                                                                           28   if “the court determines that the allegation of other facts consistent with the
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                                                                                            1   challenged pleading could not possibly cure the deficiency.” DeSoto v. Yellow
                                                                                            2   Freight Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992) (citation and quotations marks
                                                                                            3   omitted). Here, to the extent there are any deficiencies, the facts alleged in the
                                                                                            4   Complaint show that the claims are not beyond cure. This is not an “extraordinary”
                                                                                            5   case that merits dismissal without leave to amend.
                                                                                            6   VI.     CONCLUSION
                                                                                            7           In sum, because Sweet Pete’s has not identified a single point of an alleged
                                                                                            8   failure to state a claim that is not actually a question of fact for the jury, the Court
                                                                                            9   should find that all seven counts of the Complaint are supported by sufficient
                                                                                           10   factual allegations and deny Sweet Pete’s Motion to Dismiss the Complaint.
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                                                                                                Dated: August 8, 2017                         Respectfully submitted,
T ROUTMAN S ANDERS LLP




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                                                                                                             SUGARFINA, INC.’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
